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                                                                    UNITED STATES DISTRICT COURT
                                                              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                                 DESIGNATION FORM
                           (to be used by counsel orprose plaintiff to indicate the category of the case for tlie puipose of assignment to the appropriate calendar)
                     . 'ff Northeast Industlies LLC, 597 Brighton Way, Phoeruxville, PA
      Address of Pl amtt :
      Address of Defendant: _On Target Laboratories, LLC 1281 Win Hentschel Blvd., West Lafayette, IN 47906; _ __

      Place of Accident, Incident or Transaction: _ Che~st~e~r~C~o~u=n~ty~·=P~A~--------------------


      RELATED CASE, IF ANY:

      Case Number:                                                         Judge~----                                                  Date Terminated:---------

      Civil cases are deemed related when Yes is .answered to any of the following questions:

      1.       Is this case related to property included in an earher numbered suit pending or within one year                            Yes    0                 No   0
               previously terminated action in this court?

      2.       Does this case involve the same issue of fact or grow out of the same transaction as 11. prior suit                        Yes    0                 No   0
               pending or within one year previously terminated action in this court?

      3.       Does this case involve the validity or infringement of a patent already in suit or any earlier                             Yes    0                 No    0
               numbered case pending or within one year previously tem:rtnated action of this court?

      4.       Is this case a second or successive habeas corpus, socia                                                                   Yes     0                No    0
               case filed by the same individual?

      I certify that, to my knowledge, the within case                                  t related to any case now pending or within one year previously terminated action in
      this court except as noted above.

      DATE.          10-10_-2_0_18_ _                                                                                                         209033
                                                                                                                                                       Attomey 1.D. II (if applicable)


      CIVIL: (Place a ..Jin one category only)

      A.             Federal Quutio11 Cases:                                                          B.    Dil•ersity J11dsdictio11 Cases:

      0        1.   Indemnity Contract, Marine Contract, and All Other Contracts                       0    1.    Insurance Contract and Other Contracts
      0        2.   PELA                                                                               0    2.    Airplane Personal Injury
      0        3.   Jones Act-Personal Injury                                                          0    3.    Assault, Defamation
      0        4.   Antitrust                                                                          0    4.    Marine Personal Injury
      0        5    Patent                                                                             0    S.    Motor Vehicle Personal Injury
      0        6.   Labor-Management Relations                                                         0    6.    Other Personal Injury (Please specify)
      0        7    Civil Rights                                                                       0    7.    Products Liability
                                                                                                                                                                                     ---
      0        8    Habeas Corpus                                                                      0    8.    Products Liability- Asbestos
      0        9.   Securities Act(s) Cases                                                            0    9.    All other Diversity Cases
I~ ~10.             Social Security Review C11.Ses                                                                (Please speci.fY)




 \.        I
               r·   All other Federal Question Cases
                    (Please specify)· .   18 ITSC §1836


                                                                                     ARBITRATION CERTIF1CATION
                                                         ([1111.   effect ofthis certification ts to remove the casefi·om e/igtbility for arbitration}

      I, ~ter N Kessler_ _ _ - - - -                                  , counsel ofrecord or prose plaintlft; do hereby certify:

               3l   Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
                    exceed the sum of$150,000.00 exclusive of interest and costs:

               D    Relief other than monetary dlllllltges is sought


              10/10/2018
      DATE. _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                            ff;~~..:ff __ _ "~c- -20_9_03_34_ ~-~-:-l.-D-:-~-Cl[J-~-~-~-~- _
      NOTE: A trial de novo wm be a trial by jury only if there has been compliance With F R.C.P 38

      Cfv. 601 (S/2018)
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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 _________________________________________
                                           :
 NORTHEAST INDUSTRIES LLC,                 :
 and JOSEPH DELUCA,                        :
                                           : CIVIL ACTION
                         Plaintiffs,       :
                                           :
             v.                            : NO.: 2:18-cv-____________
                                           :
 ON TARGET LABORATORIES LLC,               :
 ON TARGET LABORATORIES INC.,              : Jury Trial Demanded
 and MARTIN LOW.                           :

                         Defendants.
 _________________________________________ :

                                          COMPLAINT

       Plaintiffs, Northeast Industries, LLC (“Northeast”) and Joseph DeLuca (“DeLuca,” and

together with Northeast, “Plaintiffs”), by and through their undersigned counsel, hereby brings this

Complaint against Defendants On Target Laboratories LLC (“On Target LLC”), On Target

Laboratories Inc. (“On Target Inc.” and together with On Target LLC, “On Target”) and Martin

Low (“Low,” and together with On Target LLC and On Target Inc., “Defendants”), and in support

thereof, say:

                                           Introduction

       1.       Plaintiffs used their proprietary processes, skills, expertise, know-how and hard-

won and secret list of contacts to aid Defendants in securing financing for the growth of their

enterprise. Under a written, signed contract negotiated with the Defendant CEO, Plaintiffs were

to receive a bonus in connection with the successful consummation of financing. However, now

that at least one financing has closed, Defendants are refusing to bonus Plaintiffs, and are in fact

disavowing the very existence of the contract itself. Accordingly, Plaintiffs are bringing claims

for misappropriation of trade secrets, unjust enrichment, and breach of contract.
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                                           The Parties

       2.      Plaintiff Northeast Industries LLC is a registered Pennsylvania entity doing

business out of 597 Brighton Way, Phoenixville, Pennsylvania.

       3.      Plaintiff Joseph DeLuca (“DeLuca”) is an adult individual residing at 597 Brighton

Way, Phoenixville, Pennsylvania and is the Managing Member of Northeast Industries LLC.

       4.      Defendant On Target Laboratories, LLC has been registered by Martin Low

(manager) and remains registered as an Illinois LLC with an agent name of CT Corporation

System, 208 S. LaSalle Street, Suite 814, Chicago IL, 60604, and in that capacity is also registered

as an active foreign entity in the Commonwealth of Pennsylvania, with a service address of CT

Corporation System in Dauphin County, but was also registered as a Delaware LLC with a

principal office address located at 1281 Win Hentschel Blvd, West Lafayette, IN 47906.

       5.      Defendant On Target Laboratories, Inc. is a Delaware corporation with a principal

office located at 1281 Win Hentschel Blvd, West Lafayette, IN 47906, and a registered agent at

Corporation Service Company, 251 Little Falls Drive, Wilmington, DE 19808.

       6.      Defendant Martin R. Low is an adult individual residing at 1706 Kriebel Mill Road,

Collegeville PA. He is the CEO of On Target Laboratories Inc. and on information and belief a

manager and member of On Target Laboratories LLC, and is registered as having an address at

1281 Win Hentschel Blvd, West Lafayette, IN 47906.

                                     Jurisdiction and Venue

       7.      This Court has subject matter jurisdiction of this lawsuit under 28 USC § 1331

insofar as the lawsuit involves a federal question arising under Section 18 U.S. Code § 1836.




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       8.       Venue in this District is proper under 28 U.S.C.A. §1391(b) in that at least one

defendant resides here, and that several of the events giving rise to this claim occurred within the

boundaries of this District.

                                            The Facts

       9.       Plaintiff Joseph DeLuca and Defendant Martin Low both attended college at

Purdue, and subsequently met one another, some twenty years ago, at a networking event in

Philadelphia. They became friends and saw one another socially perhaps a few times a year

thereafter. Over the years Martin Low reached out to Joseph DeLuca as a sounding board for

various business ventures in which he was involved, and for strategic advice, capital raising,

networking contacts and technical expertise. Such business ventures included the use of decorative

roof tiles to generate solar power and the opening of an ice cream store in the Philadelphia area.

       10.      Martin Low’s brother, Philip Low, a scientist and chemistry professor at Purdue

University, and a Board member of On Target, is located in Lafayette, Indiana. Several years prior

to 2015, Philip Low, with his brother Martin Low, founded “On Target.” That enterprise was

founded for the purposes of commercializing certain molecules that Philip Low had created. Those

molecules could be used to locate and illuminate certain cancerous cells in the body, leading to a

host of applications, including surgical applications. Circa 2015, Martin Low turned to Joseph

DeLuca to aid in marketing the company, developing partnerships, developing the business itself,

and raising capital.

       11.      Joseph DeLuca agreed to share with Martin Low and On Target his processes,

know-how, and extensive network of contacts to help On Target develop its business, develop

partnerships and to raise capital. Joseph DeLuca and Martin Low, on behalf of On Target




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Laboratories LLC, negotiated a Consulting Agreement by which Joseph DeLuca would be

compensated (attached hereto at Exhibit 1).

       12.      That Consulting Agreement, dated on or around May 2015, was entered into

between on the one hand Plaintiff Northeast Industries LLC (as signed by its member, Plaintiff

Joseph DeLuca), and on the other hand Defendant On Target Laboratories, LLC (as signed by its

CEO, Martin Low).

       13.      Among other provisions, the Consulting Agreement provided that Northeast

Industries LLC would be bonused in the event of a financing in relevant part as follows:


                4.     Bonus. If Company closes a Financing with an Investor that Consultant
                introduces to Company, and Investor is not a Carved Out Investor (defined below),
                then the Company shall pay Consultant a Bonus equal to 3.0% of the aggregate
                amount of the Financing received by Company from the Investor.

                ***
                The terms of this Section 4 shall remain in effect for a period of 18 months
                following the end of the Term or 18 months following the date of Termination.


       14.      Among other provisions, the Consulting Agreement created an exception to the

bonus for Carved Out Investors, in relevant part as follows:

                4.      ....
                Company shall have the right to carve out any Investors (“Carved Out Investor”)
                by notifying Consultant, in writing, before Consultant contacts the Investor.


       15.      Among other provisions, the Consulting Agreement provided for its own Term as

follows:


                2.     Term. This Agreement shall commence as of the date hereof and will
                remain in place until terminated by either party, in writing, on 10 days’ notice.




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       16.      Among other provisions, the Consulting Agreement provided for written

termination in relevant part as follows:


                8.      Termination. Either party may terminate this Agreement and Consultant’s
                services hereunder at any time upon the notice provided in Section 2 above, or
                immediately upon notice for good cause (in the reasonable judgment of the
                Company) which shall include, but not be limited to, Consultant’s failure to fully
                and satisfactorily perform any of the duties and fulfill any of his obligations under
                this Agreement or the commission by Consultant of any gross or intentional act or
                omission which, in the judgment of the Company, materially and adversely affects
                the Company’s interests.


       17.      Believing himself under contract and operating with full knowledge of the On

Target Board, DeLuca was instructed by Low to use his contacts and relationships to seek

financing, develop partnerships, and develop the business. In an email, dated May 27, 2015, Low

wrote “…P.S.S. the more I though [sic] about it, the more I agree with you that we should cast as

wide a net as possible for funding sources and let the board tell us no. The worst case scenario is

that we are so targeted that we aren't successful. At that point, Tom Hurvis has all the leverage

and I'm probably looking for another job.” DeLuca through Northeast Industries, LLC shared with

Low and On Target several key contacts he had, for the purposes of obtaining financing,

developing strategic partnerships, recruiting Board members, recruiting Investment Banks,

advancing the general knowledge and contact network of Low, and creating value for On Target,

which lists of contacts were hard-earned and proprietary to DeLuca and Northeast Industries, and

which contacts represented significant information built up by DeLuca and Northeast over a career.

DeLuca also shared with Low and On Target his proprietary methodology and technique for

positioning companies to seek and obtain financing, as well as his know-how and processes for

obtaining financing, and further deployed his skills, know-how and proprietary expertise to

generate materials for use by On Target and Low in marketing On Target to various financing



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sources and prospective business partners, as well as communicating to the Board of On Target

and its existing investors.

       18.      DeLuca traveled to Indiana several times in connection with the pursuit of financing

for On Target. He spoke with and presented to various Board representatives throughout his work

in service of On Target and developed presentations and strategy on behalf of On Target. He

visited Japan with Martin Low to meet with senior executives of Olympus Corporation to develop

a strategic partnership between Olympus and On Target to use Olympus cameras and endoscopes

in conjunction with On Target’s molecules during surgical procedures. He also visited California

with Martin Low to meet with senior executives of Stryker Corporation, and met again with the

same Stryker team in Philadelphia, to develop a similar strategic partnership. He dealt with

Medtronic Corporation in Boston, Abbott Diagnostics in Chicago, and other medical device and

pharma companies in pursuit of a potential business arrangement for On Target. He shared his

proprietary contacts, processes, know-how and methodologies with Defendants and generated

work product incorporating same on behalf of Defendants.

       19.      Throughout the course of his work for On Target, DeLuca was repeatedly lauded

by Martin Low. Martin Low repeatedly told him things like, “This is so helpful,” and “I’ve talked

to the Board about your help,” and “I’ve talked to the Board about how much value you’ve added,”

and “I’ve told the Board we wouldn’t be where we are without your help”, and “I’ve talked to

Philip about your work.” The impression Martin Low gave to Joseph DeLuca was that Martin

Low was keeping the Board informed respecting Joseph DeLuca’s contributions.

       20.      It became apparent to DeLuca that On Target did not have a contact at J&J

Innovations, a subsidiary of Johnson and Johnson, and would need to solicit funding from J&J

Innovations directly. As he wrote to Low on or about June 8, 2015, “Upon further research, I think




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a good starting place at J&J might also be J&J Innovation. That group’s is [sic] purpose is to

partner with entrepreneurs and fund companies. I have a couple of contacts there, too, in addition

to the CMO. Let me know.” Low agreed with DeLuca, and asked DeLuca to bring his own

contacts and influence to bear on J&J Innovation, and also with Johnson & Johnson contacts like

Amrit Ray and Kareen Bacinski in order to ultimately obtain financing for On Target.

       21.     DeLuca initiated the idea of contacting J&J Innovation and brought his proprietary

contacts, influence, and understanding to bear. J&J Innovations was not a “Carved Out Investor.”

       22.     Plaintiffs’ efforts on behalf of Defendants were successful.

       23.     In fact, J&J Innovation itself invested in On Target. Purdue University issued a

press release on or about November 1, 2017, stating: “On Target Laboratories secures $40 million

financing led by Johnson & Johnson Innovation – JJDC, Inc. (JJDC).”

       24.     On or about December 19, 2017, DeLuca and Martin Low met for breakfast at the

Collegeville Diner where Mr. Low informed him of the details of the closing of the financing for

On Target. Martin Low was effusive in his praise of Mr. DeLuca and of the many contributions

of proprietary knowledge and contacts he had made. Mr. Low stated, “We never would have

gotten here without you.” He also said, “I talked with the Board, I told them that,” and then he

offered Mr. DeLuca $10,000 stemming from the financing. Mr. Low said, “I tried to get you more,

but I couldn’t.”

       25.     Mr. DeLuca and Mr. Low had breakfast again on or about February 16, 2018. They

met at the Corner Bakery Café in King of Prussia. At that meeting, Mr. DeLuca reminded Mr.

Low that he had a contract with On Target, that he had used his know-how, processes and contacts

to that end, and that he had been instrumental in bringing JJDC to the deal. Mr. Low grew pale

and said several things. Among them, he said, “You’re crazy if you think you’re going to get




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$600,000” and “That was not the spirit of the deal.” He also said, “I think I can do $75,000 so I

don’t need to involve the Board.”

       26.      Low also said, “I could lose my job over this. I didn’t talk to the Board.”

       27.      To which DeLuca responded, “You didn’t talk to the Board about me?”

       28.      To which Martin Low answered, “I didn’t tell them you had a contract.”

       29.      Subsequently, Martin Low also commented, “I should have terminated the

contract!”

       30.      Subsequently, Martin Low also stated, “I can get you the money you’re owed

through my equity?” He suggested that his equity would amount to a value of several million

dollars and that 1-2 points of his equity for Mr. DeLuca would amount to a value of at least

$500,000 - $600,000 or more over time. Martin Low also stated, “That (equity) would be the

easiest for me. I would still have a little mud on my face”, and stated “What if I give you another

consulting contract and you can get paid out over time?”

       31.      In response, Mr. DeLuca insisted that Mr. Low inform the Board, and Mr. Low said

he would show Fritz French, the Chairman of the Board, the DeLuca contract and would call

DeLuca back.

       32.      On February 20, 2018 Mr. Low called Mr. DeLuca back and said they wanted to

do the right thing. Mr. Low said, “On the one hand we owe $500,000. But on the other hand what

was the intent here.” Mr. Low also said it was “my bad”, and said “I don’t think you can get much

more out of the Board without going to court”, and also said “The best way to amicably handle it

is to give you some of my shares.” Mr. Low then said he would try to “get Fritz (French, Chairman)

to pay”, and “Had we known how this had played out, neither one of us would have expected to

owe you $500,000.”




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       33.     Mr. Low then said, “If we go down this road, it will be over.” He also said, “We’re

done. Don’t ever call me again, don’t ever talk to me again. We’re done.”

       34.     Mr. DeLuca was concerned that Mr. Low would not honor his stated intention to

inform the Board. Accordingly, he wrote board member Fritz French a letter on or about February

27, 2018.

       35.     In response, Mr. DeLuca received back a letter from an attorney for On Target

named A. Matthew Boxer of Lowenstein Sandler, dated March 14, 2018 (“Boxer Letter” attached

hereto at Exhibit 2). The Boxer Letter contained a few contradictions.

       36.     First, the Boxer Letter appeared to invoke both Section 2 and Section 8 of the

contract to effectuate a notice of cancellation of the contract as of March 14, 2018.

       37.     Second, the Boxer Letter disavowed that any contract was ever in place at all,

stating: “The OTL board of directors never approved the Agreement.” As such, Defendants,

through counsel, have asserted that the relationship between the parties was never governed by

contract – and that Defendants, as such, have simply committed a wholesale theft of Mr. DeLuca’s

proprietary processes, skills, expertise, know-how and hard-won and secret list of contacts.

       38.     The failure of Defendants to acknowledge the existence and validity of the contract

gives rise to claims in the alternative that must be pursued in this action, not only against On Target

and affiliated entities but also against Mr. Low.



                                        COUNT I
                        MISAPPROPRIATION OF TRADE SECRETS
                              (Section 18 U.S. Code § 1836)
                                (Plaintiffs v. Defendants)

       39.     Plaintiffs incorporate herein by reference the allegations set forth in the foregoing

paragraphs above as though set forth at length herein.



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       40.     Plaintiffs were in possession of a proprietary list of contacts and a proprietary

methodology and technique for developing companies and for positioning companies to seek and

obtain partnerships and financing; as well as know-how and processes and proprietary expertise

for developing companies and helping them to obtain financing.

       41.     Defendants by improper means induced Plaintiffs to reveal to them Plaintiffs’

proprietary contacts, methodology, technique, know-how, processes and proprietary expertise and

to use such proprietary contacts, methodology, technique, know-how, processes and proprietary

expertise in Pennsylvania, Indiana, California, and other states, by improper means, including false

promises to bonus Plaintiffs in the event any financing resulted.

       42.     Defendants knew that they were misappropriating Plaintiffs’ trade secrets.

       43.     Accordingly, Defendants deliberately, knowingly and maliciously acted to

misappropriate Plaintiffs’ trade secrets, and induced Plaintiffs to gratis reveal their proprietary

trade secrets, including Plaintiffs’ proprietary contacts, methodology, technique, know-how,

processes and proprietary expertise. Defendants did so willfully and maliciously, knowing that

they would disavow any contractual or other responsibility to Plaintiffs for the misappropriation

of such trade secrets.

       44.     Plaintiffs have been damaged thereby.

       WHEREFORE, Plaintiffs Northeast Industries, LLC and Joseph DeLuca demand judgment

in their favor and against Defendants On Target Laboratories LLC, On Target Laboratories Inc.,

and Martin Low in an amount to be determined at trial, plus pre-judgment and post-judgment

interest, costs of suit, attorneys’ fees, punitive damages, and for such other relief as the Court

deems equitable and just.




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                                          COUNT II
                                   UNJUST ENRICHMENT
                                   (Plaintiffs v. Defendants)

       45.     Plaintiffs incorporate herein by reference the allegations set forth in the foregoing

paragraphs above as though set forth at length herein.

       46.     Defendants Martin Low, On Target Laboratories LLC and On Target Laboratories

Inc. solicited time, energy, and proprietary information and strategy from Joseph DeLuca and

Northeast Industries, LLC for the purposes of obtaining financing, developing strategic

partnerships, recruiting Board members, recruiting Investment Banks, advancing the general

knowledge and contact network of Low, and creating value for On Target.

       47.     Defendants Martin Low, On Target Laboratories LLC and On Target Laboratories

obtained the value of time, energy, and proprietary information and strategy from Joseph DeLuca

and Northeast Industries, LLC for the purposes of obtaining financing, developing strategic

partnerships, recruiting Board members, recruiting Investment Banks, advancing the general

knowledge and contact network of Low, and creating value for On Target and successfully

obtained financing and created significant value for On Target and its owners.

       48.     Defendants Martin Low, On Target Laboratories LLC and On Target Laboratories,

having obtained and enjoyed the value of time, energy, and proprietary information and strategy

from Joseph DeLuca and Northeast Industries, LLC for the purposes of obtaining financing,

developing strategic partnerships, recruiting Board members, recruiting Investment Banks,

advancing the general knowledge and contact network of Low, and creating value for On Target

have now kept that benefit to themselves without properly compensating Joseph DeLuca and

Northeast Industries, LLC.




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       49.     In aiding in the obtention of such financing, Plaintiffs Northeast Industries, LLC

and Joseph DeLuca conferred a substantial benefit upon Defendants Martin Low, On Target

Laboratories LLC and On Target Laboratories.

       50.     Defendants Martin Low, On Target Laboratories LLC and On Target Laboratories

caused Plaintiffs to believe the work that they did was pursuant to contract but have now

disclaimed such contract.

       51.     The keeping of benefits by Defendants Martin Low, On Target Laboratories LLC

and On Target Laboratories without properly compensating Joseph DeLuca and Northeast

Industries, LLC, is manifestly unjust.

       52.     Whereby, each of Joseph DeLuca and Northeast Industries have been damaged.

       WHEREFORE, Plaintiffs Northeast Industries, LLC and Joseph DeLuca demand judgment

in their favor and against Defendants On Target Laboratories LLC, On Target Laboratories Inc.,

and Martin Low in an amount to be determined at trial, plus pre-judgment and post-judgment

interest, costs of suit, and for such other relief as the Court deems equitable and just.

                                         COUNT III
                                BREACH OF CONTRACT
                 (Northeast Industries, LLC v. On Target Laboratories LLC)

       53.     Plaintiffs incorporate herein by reference the allegations set forth in the foregoing

paragraphs above as though set forth at length herein.

       54.     In 2015, the parties entered into a contract providing for compensation of Northeast

Industries, LLC in the event of a financing.

       55.     At least one such financing has now occurred.

       56.     Northeast Industries, LLC is entitled to all bonuses arising out of any and all

successful financings as provided by the contract.




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           57.     On Target Laboratories LLC has refused to honor or even recognize the contract.

           58.     Whereby, Northeast Indus1ries has been damaged.

           WHEREFORE, Plaintiff Northeast Industries, LLC demands judgment in its favor and

    against Defendant On Target Laboratories LLC in an amount to be determined at trial, plus pre-

    judgment and post-judgment interest, costs of suit, and for such other relief as the Com1 deems

    equitable and just.



                                           Jury Trial Demand

           Plaintiff hereby demands trial by jury of eight (8) on all issues so triable.



                                                          Respectfully submitted by:



                                                          KUTAKROCKLLP


                                                          B   r]J-~ /f1.          A·
                                                          P.~terlff.f<.~er, Esquire
                                                          Oliver D. Griffin, Esquire
                                                          1760 Market Street, Suite 1100
                                                          Philadelphia, PA 19103
                                                          (215) 299-4384
                                                          (215) 981-0719 (fax)
                                                          Attomeys for Plaintiffs



    Dated: October 10, 2018.




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